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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

                                                    §
  In re:                                            § Chapter 11
                                                    §
  Texas REIT LLC                                    § Case No. 24-10120 (SMR)
                                                    §
                   Debtor.                          § EXPEDITED RELIEF REQUESTED
                                                    §

     JUDGMENT CREDITORS’ EXPEDITED MOTION FOR (I) A DETERMINATION
     THAT THE AUTOMATIC STAY DOES NOT APPLY TO STATE COURT CLAIMS
         AGAINST ALI CHOUDHRI INDIVIDUALLY, OR, ALTERNATIVELY,
                  (II) RELIEF FROM THE AUTOMATIC STAY

           A hearing has been requested on this matter on an Expedited basis on
           December 19, 2024 at 1:30 pm in Judge Robinson’s Courtroom, Homer J.
           Thornberry Federal Judicial Bldg., 903 San Jacinto Blvd., Suite 332, Austin,
           TX 78701. If you object to the relief requested, you must respond in writing,
           specifically answering each paragraph of this pleading. Unless otherwise
           directed by the court, you must file your response with the clerk of the
           bankruptcy court. You must serve a copy of your response on the person
           who sent you the notice; otherwise, the court may treat the pleading as
           unopposed and grant the relief requested.

           Expedited relief has been requested, seeking a ruling on less than 21 days’
           notice.

           Ali Mokaram (“Mokaram”) and Osama Abdullatif (“Abdullatif”), judgment creditors of

  Ali Choudhri (together, the “Judgment Creditors”), for their Expedited Motion for (I) a

  Determination that the Automatic Stay Does Not Apply to State Court Claims Against Ali

  Choudhri Individually, or, Alternatively, (II) Relief from the Automatic Stay (the “Motion”),

  respectfully state as follows:

                                       RELIEF REQUESTED

           1.      By this Motion, the Judgment Creditors seek a comfort order determining that the

  automatic stay does not apply to the State Court Actions (defined below) that have now twice



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  been improperly removed by the Debtor’s principal, Ali Choudhri (“Choudhri”).                               In the

  alternative, in the event the Court finds that the automatic stay does apply to the State Court

  Actions, then the Judgment Creditors seek authority to lift the automatic stay.

           2.      The Judgment Creditors hold money final judgments against Choudhri arising

  from two state court cases (the “State Court Actions”).1 The Debtor is not a party to either of the

  underlying judgments in the State Court Actions. Choudhri first removed the State Court

  Actions to the Southern District of Texas Bankruptcy Court in July 2024, which proceedings

  were ultimately transferred to this Court and remanded by orders dated October 9, 2024. While

  Choudhri’s motion to reconsider the remand orders was still pending before this Court, Choudhri

  removed the State Court Actions again to the United States Bankruptcy Court for the Southern

  District of Texas. See Mokaram-Latif West Loop, Ltd., et al. v. Choudhri, Adv. No. 24-3224 and

  Adv. No. 24-3225 (Bankr. S.D. Tex.) (together, the “Southern District Adversaries”). The

  removals were in bad faith and for purposes of delaying the creditors from collecting their

  judgments.

           3.      In the Southern District Adversaries, Choudhri argued that the State Court

  Actions are subject to the automatic stay arising out of the above-captioned chapter 11 case

  because (a) George Lee filed a reverse alter ego claim against the Debtor in George Lee v. Texas

  REIT LLC, Adv. Proc. 24-1039 (Bankr. W.D. Tex. July 10, 2024) (the “Lee Adversary”),

  seeking the Court’s leave to pursue Lee’s judgment against Choudhri individually as a creditor in

  Texas REIT’s bankruptcy, and (b) due to a previously filed and subsequently withdrawn proof of




  1
    The State Court Actions are Mokaram-Latif West Loop, Ltd., et al. v. Choudhri, Cause No. 2012-27197-A, pending
  in the 333rd Judicial District Court of Harris County, Texas, and Mokaram-Latif West Loop, Ltd. v. Choudhri, et al.,
  Cause No. 2012-27197-D, also pending in the 333rd Judicial District Court of Harris County, Texas.


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  claim filed by Abdullatif, among others. As explained in greater detail below, these theories are

  incorrect.

           4.      As a result of Choudhri’s arguments, this issue was briefed to Judge Isgur as part

  of the motion to remand. On December 2, 2024, United States Bankruptcy Judge Marvin Isgur

  remanded the State Court Actions. See Mokaram-Latif West Loop, Ltd., et al. v. Choudhri, Adv.

  No. 24-3224 (Bankr. S.D. Tex. Dec. 2, 2024) [Docket No. 23] (together with the identical order

  entered in Adv. No. 24-3225 at Docket No. 16, the “Second Remand Order”). A copy of the

  Second Remand Order is attached hereto as Exhibit J. In the Second Remand Order, Judge

  Isgur “respectfully request[ed] that Judge Robinson determines whether the automatic stay

  applies to either remanded adversary proceeding.” Judge Isgur stated on the record that he

  thought that issue should be determined by the same judgment presiding over the bankruptcy of

  Texas REIT. Judge Isgur further stayed remand of the State Court Actions temporarily, pending

  certain conditions and/or determinations by this Court. See Exhibit J at ¶ 4.

           5.      As briefed before Judge Isgur, the Judgment Creditors do not believe that the

  State Court Actions violate the automatic stay because the Judgment Creditors only seek to

  proceed against Choudhri individually and there are no judgments or claims currently pending

  that would require Choudhri to satisfy the Debtor’s debts. Out of an abundance of caution,

  however, the Judgment Creditors request a ruling that either (a) the State Court Actions are not

  subject to the automatic stay, or, in the alternative, (b) if the State Court Actions are subject to

  the automatic stay, lifting the stay to allow the Judgment Creditors to pursue Choudhri in the

  State Court Actions upon remand.




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                                    EXPEDITED RELIEF REQUESTED

             6.      The Judgment Creditors request that this matter be heard during the December 19,

  2024, hearing in this case. As noted above in paragraph 4, the Second Remand Order remains

  stayed subject to this Court’s determinations on whether the automatic stay applies.

             7.      The Judgment Creditors attempted to meet and confer with Choudhri about

  whether he is unopposed to expedited consideration of this issue or this Motion being considered

  on December 19, 2024, but Choudhri did not respond regarding his position on the hearing date.

                                                 BACKGROUND

  A.         Choudhri Uses Abusive Removal Tactics to Repeatedly Delay State Court Actions

             8.      A comprehensive history of Choudhri’s removal tactics is set forth in Judgment

  Creditors’ amended motion for remand filed in the Southern District Adversaries, which is

  attached hereto as Exhibit A.2 A summary of the serial removals, and associated court orders, is

  below.

  B.         In the State Court Actions, the Judgment Creditors Only Seek Recovery Against
             Choudhri, not the Debtor

             9.      Final judgments have been entered in the State Court Actions, which are attached

  hereto as Exhibits B & C. The State Court Actions solely seek to recover against non-debtor

  Choudhri—not against the Debtor. While the Debtor had (prior to its bankruptcy filing) been a

  party to the litigation, there was no relief sought by or against the Debtor in the litigation, and no

  relief granted by or against the Debtor in the judgments, and it is therefore no longer a party in

  either State Court Action.




  2
      Docket No. 6 in Adv. Pro. No. 24-3224 and Docket No. 3 in Adv. Pro. No. 24-3225.


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  C.       The Unrelated Lee Adversary Asserts a Reverse Veil Piercing Claim against the
           Debtor

           10.      On January 31, 2024, the 152nd Judicial District Court of Harris County granted

  Lee a judgment against Choudhri (the “Lee Judgment”).

           11.      On July 10, 2024, Lee filed the Lee Adversary seeking two counts: a declaratory

  judgment that the Debtor is the alter ego of Choudhri and enforcement of the Lee Judgment

  against the Debtor. Attached hereto as Exhibit D is the Lee Adversary complaint, which

  attaches the Lee Judgment. However, the relief sought by the Lee Adversary is not a general

  ruling by this Court that the Debtor is an alter ego of Choudhri for all purposes—rather, Lee

  solely seeks to allow enforcement of Lee’s judgment against Choudhri against the Debtor for

  purposes of filing a proof of claim in the Debtor’s chapter 11 case:




  See Exhibit D at page 7.3

           12.      A motion to dismiss the Lee Adversary was filed, fully briefed, and argued on

  September 25, 2024. See Lee Adversary at Sept. 25, 2024 Docket Entry. The issue remains

  under advisement.

  3
     Judgment Creditors take no position on whether Lee’s claims should or should not succeed in the Lee
  Adversary but draw attention to the specific relief requested to highlight the unique procedural posture in that case.


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  D.       The First Removal and Remand

           13.     Choudhri filed notices of appeal of the judgments entered in the State Court

  Actions and contends he is a pauper without the funds to post a supersedeas bond.            The

  underlying state court set a hearing to determine the accuracy of Choudhri’s financial condition.

  If Choudhri loses, he has to either post a supersedeas bond in both cases or the Judgment

  Creditors can collect on their final judgments against Choudhri.

           14.     The hearing on the supersedeas bond was reset several times at Choudhri’s

  request. See Exhibit E (July 10 Order); Exhibit F (July 23 Order). Both Orders describe

  Choudhri’s delay tactics, which have delayed collection proceedings for over a year. The hearing

  was ultimately reset for July 29, 2024. On July 29, 2024, the morning of the bond hearing,

  Choudhri filed a suggestion of bankruptcy and notified the state court that he had removed the

  State Court Actions.

           15.     On July 28, 2024, Choudhri filed a Notice of Removal removing the State Court

  Actions to the United States Bankruptcy Court for the Southern District of Texas before Judge

  Rodriguez. The stated basis for removal was the Debtor’s pending chapter 11 case. On July 29,

  2024, the Judgment Creditors filed a Joint Motion for Remand or Abstention, which they later

  supplemented to raise the additional fact that removal was untimely under Bankruptcy Rule

  9027. Judge Rodriguez ultimately transferred the removed cases to the United States Bankruptcy

  Court for the Western District of Texas, and the adversary proceedings were assigned to this

  Court. See Mokaram-Latif West Loop, Ltd., et al. v. Choudhri, et al., Adv. Proc. Nos. 24-1049

  and 24-1050 (Bankr. W.D. Tex.).

           16.     On October 9, 2024, this Court granted in part the Judgment Creditors’ Joint

  Motion for Remand or Abstention, finding:



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           “(1) the Debtor, Texas REIT, is not a Defendant in the State Court Lawsuit; (2)
           the Debtor is not a Plaintiff in the State Court Lawsuit; and (3) a final judgment
           has been entered. The Court also notes that the State Court Lawsuit was
           improperly removed in violation of Federal Rule of Bankruptcy Procedure 9027’s
           deadlines and pleading requirements.”

  See Adv. Proc. 24-1049, Docket No. 31 at 2 (the “First Remand Order”). A copy of the First

  Remand Order is attached hereto as Exhibit G.4

           17.     Critically, at the time the First Remand Order was entered on October 9, 2024,

  this Court had already heard arguments in the Lee Adversary on whether the Debtor was an alter

  ego of Choudhri.        The Court not only remanded the State Court Actions for procedural

  consideration but did so “for adjudication and disposition.” First Remand Order at 4.

           18.     On October 30, 2024, Choudhri filed his Amended Motion for Reconsideration of

  Order to Remand (the “Motion for Reconsideration”). See Adv. Pro. 24-1049, Docket No. 36,

  which is attached hereto as Exhibit H.5 In the Motion for Reconsideration, Choudhri raises the

  Lee Adversary and the alter ego claims alleged therein as a basis for the Court to retain the cases

  and deny remand. See Exhibit H at ¶ 8.

           19.     On November 8, 2024, the Court entered the Order Denying Ali Choudhri’s

  Amended Motion to Vacate Order (the “Reconsideration Order”). Adv. Pro. 24-1049, Docket

  No. 39, which is attached hereto as Exhibit I.6 While the Reconsideration Order acknowledged

  that other adversaries were pending before the court where creditors have asserted alter ego

  claims against the Debtor, the Court found that was not a basis for reconsideration under

  Bankruptcy Rules 9023 and 9024. See Exhibit I at pp. 3-4, 6.




  4
      An identical remand order was entered in Adv. Pro. Nos. 24-1047, 24-1048, and 24-1050.
  5
      An identical motion for reconsideration was filed in Adv. Pro. Nos. 24-1047, 24-1048, and 24-1050.
  6
      An identical order denying reconsideration was entered in Adv. Pro. Nos. 24-1047, 24-1048, and 24-1050.


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  E.       The Second Removal and Remand

           20.     Following entry of the First Remand Order, the Judgment Creditors sought to

  reset the hearing on the supersedeas bond in the state court. The state court reset the hearing on

  November 4, 2024.        Notwithstanding the pending Motion for Reconsideration, Choudhri

  removed these actions again on November 4, 2024 on the same day as the reset hearing. See

  Mokaram-Latif West Loop, Ltd., et al. v. Choudhri, Adv. No. 24-3224 and Adv. No. 24-3225

  (Bankr. S.D. Tex.). The Judgment Creditors filed remand motions again, see Exhibit A. And on

  December 2, 2024, the Southern District of Texas granted remand again. See id. at Docket No.

  23 in Adv. No. 24-3224 and Docket No. 16 in Adv. No. 24-3225, which is attached hereto as

  Exhibit J. As with the First Remand Order, the Southern District of Texas found that removal

  was improper.

                                          JURISDICTION

           21.     This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. § 1334.

  This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue of this proceeding is

  proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                            STANDARD

           22.     Section 362(a)(1) provides for an automatic stay of any judicial “proceeding

  against the debtor.” 11 U.S.C. § 362(a)(1). Ordinarily, the automatic stay under section 362

  does not apply to actions against a nondebtor. See In re TXNB Internal Case, 483 F.3d 292, 301

  (5th Cir. 2007). Under narrow circumstances, the automatic stay may apply to an action against

  nondebtor defendants depending on their relationship to the debtor. See Reliant Energy Servs.,

  Inc. v. Enron Can. Corp., 349 F.3d 816, 825 (5th Cir. 2003). “The party invoking the stay has

  the burden to show that it is applicable.” Beran v. World Telemetry, Inc., 747 F. Supp. 2d 719



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  (S.D. Tex. 2010) (citing 2 William L. Norton Jr., Norton Bankruptcy Law and Practice § 43:4

  (3d ed. Supp. 2010) (noting that in bankruptcy court proceedings, “the party seeking to extend

  the stay will bear the burden to show that ‘unusual circumstances’ exist warranting such an

  extension of the stay to a nondebtor”); Arnold v. Garlock, Inc., 278 F.3d 426, 436 (5th Cir.

  2001)). As such, Choudhri bears the burden to establish the automatic stay applies to the

  Judgment Creditors’ claims.

                                ARGUMENT AND AUTHORITIES

  I.       The Automatic Stay Does Not Apply to the State Court Actions Against Choudhri

           a.      Lee’s Claims Do Not Impact the State Court Actions

           23.     The Lee Adversary complaint itself is the key to understanding whether Lee’s

  claims asserted against the Debtor require that the Debtor’s stay extend to protect Choudhri

  against the Judgment Creditors’ prosecution of the State Court Actions. Lee only seeks authority

  to bring the Lee Judgment as a claim against the Debtor in the Debtor’s bankruptcy. See

  Exhibit D at 7.




  To do so, Lee seeks to apply a reverse veil-piercing theory by which Lee could collect on his

  judgment against non-debtor Choudhri from the assets of the Debtor. See also Adv. No. 24-1039

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  Docket No. 6 (attached as Exhibit K). The Lee Adversary is procedurally unique because

  instead of seeking to expand the pool of recoverable assets for the Debtor’s creditors, Lee seeks

  to become a creditor of the Debtor by receiving authority to file a proof of claim in the Debtor’s

  bankruptcy case.7 The Judgment Creditors’ claims against non-debtor Choudhri in the State

  Court Actions are different.

           b.      The State Court Actions Do Not Seek Assets of the Debtor’s Estate

           24.     In the State Court Actions, the Judgment Creditors seek to recover the money

  owed under a judgment entered against non-debtor Choudhri from Choudhri’s own assets and do

  not assert any veil-piercing or alter ego theories against the Debtor’s assets. See Exhibits B &

  C.    These claims do not infringe on the Debtor’s section 362 protections merely because

  Choudhri is the Debtor’s owner or manager. See, e.g. In re Xenon Anesthesia of Texas, PLLC,

  510 B.R. 106, 111 (Bankr. S.D. Tex. 2014) (denying request to extend automatic stay to

  managing member because debtor “failed to establish that assets of the bankruptcy estate would

  be at risk in allowing the state court to proceed”). Likewise, this Court has already considered

  and rejected Choudhri’s theory that Texas REIT is a party to the state court cases. See

  Reconsideration Order, Adv. Proc. 24-1047, Docket No. 36 at 4–5.

           25.     Choudhri bears the burden of establishing the “unusual circumstances” that would

  extend the protections of section 362 to him. See discussion in In re Divine Ripe, L.L.C., 538

  B.R. 300, 308 (Bankr. S.D. Tex. 2015) (citing A.H. Robins Co. v. Piccinin, 788 F.2d 994, 999

  (4th Cir. 1986)). No such circumstances are present. Choudhri cannot meet this burden.8


  7
      Lee is taking the less common approach of attempting to become a creditor in a bankruptcy case without
  simultaneously expanding the pool of distributable assets.
  8
       Further, Choudhri stated in the December 2, 2024 hearing that he disagrees with any factual allegations that he
  is an alter ego of Texas REIT, thus agreeing that he does not believe the automatic stay should apply to claims
  against Choudhri individually.


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           c.      The First Remand Order Permitted the State Court Actions to Proceed

           26.     When the State Court Actions were remanded in October, this Court explicitly

  instructed that the State Court Actions could proceed “for adjudication and disposition.” First

  Remand Order, Adv. Proc. 24-1049, Docket No. 31 at 4. The First Remand Order continued,

  finding that the decision to remand “does not in any way lift, terminate, and/or modify the

  automatic stay against the Debtor and/or property of the bankruptcy estate pursuant to 11

  U.S.C. § 362 in the Debtor’s main case.” Id. at 5.

           27.     The Judgment Creditors understood the Court’s ruling that the cases be remanded

  for “adjudication and disposition” to allow the State Court Actions to proceed and that the

  rulings on pages 4 & 5 for the First Remand Order determined that the State Court Actions were

  not implicated by the automatic stay. The Judgment Creditors request an order explicitly finding

  that the automatic stay does not apply to the State Court Actions, or, in the alternative, that the

  automatic stay is lifted to allow the Judgment Creditors to proceed against Choudhri.

           d.      The Withdrawn Proof of Claim Does Not Extend the Automatic Stay

           28.     Choudhri also asserts that a now-withdrawn proof of claim which asserted alter

  ego theories extends the automatic stay in this case to all actions against him. He is wrong. This

  argument is not new: Choudhri presented the same argument in his motion to reconsider the First

  Remand Order and the Court weighed and rejected it in the Reconsideration Order. Adv. Proc.

  24-1047, Docket No. 36 at 4.

           29.     John Quinlan, Omar Khawaja, and Osama Abdullatif (the “Withdrawn

  Claimants”) filed a proof of claim in the Debtor’s bankruptcy. The Withdrawn Claimants have

  since sought to withdraw that claim. See Notice of Withdrawal of Claim No. 9- Case No. 24-

  10120 [Docket No. 228]. The Debtor objected to the withdrawal. That objection has been set



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  for a hearing on December 19, 2024 at 1:30 p.m. [Case No. 24-10120, Docket No. 379].

  Choudhri acknowledged on December 2, 2024, that he does not believe he is an alter ego of

  Texas REIT and plans to contest any argument that he is.

           30.     There is no basis for a withdrawn claim to extend the automatic stay to Choudhri

  as the Withdrawn Claimants have assured the Court that they do not intend to proceed on this

  theory. See Docket No. 228. In the Reconsideration Order, this Court considered the State Court

  Actions and Proof of Claim No. 9 and concluded that “that the overall facts of the State Court

  [Actions] history and posture—particularly the fact that final judgment has already been entered

  against Choudhri—weighed in favor of equitable remand.” Reconsideration Order, Adv. Proc.

  24-1047, Docket No. 36 at 4. Only if the property of Texas REIT was implicated were the parties

  required to return to this Court. Id. There is no evidence or argument that collections against

  Choudhri individually impact property of Texas REIT and there is therefore no basis for the

  automatic stay to govern the State Court Actions.

           31.     But, even if the Court finds that when Claim No. 9 was filed asserting an alter ego

  theory the automatic stay was extended to Choudhri, approving withdrawal of Claim No. 9

  should terminate it. Therefore, upon granting the withdrawal of Claim No. 9, the Court should

  find the State Court Actions are not subject to the automatic stay.

           e.      If the Automatic Stay Applies, Cause Exists for Relief

           32.     “Every bankruptcy statute since 1898 has incorporated literally, or by judicial

  interpretation, a standard of good faith for the commencement, prosecution, and confirmation of

  bankruptcy proceedings.” In re Little Creek Dev. Co., 779 F.2d 1068, 1071 (5th Cir. 1986)

  (citations omitted). Here, Choudhri cannot claim good faith in these proceedings as Choudhri




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  both seeks to avail himself of the automatic stay and denies that the basis for the automatic stay

  (alter ego) is true—while repeatedly using removal as a tactic in the State Court Actions.

           33.     A court may modify the automatic stay “for cause.” 11 U.S.C. § 362(d)(1). The

  Fifth Circuit has stated that “[t]he Bankruptcy Code does not precisely define ‘cause’ under

  § 362(d)(1), and in the past we have noted that this lack of definition affords ‘flexibility to the

  bankruptcy courts.’” Bonneville Power Admin. v. Mirant Corp. (In re Mirant Corp.), 440 F.3d

  238, 253 (5th Cir. 2006) (citations omitted). Bankruptcy courts have found that “cause” exists to

  terminate the automatic stay where the debtor lacked “good faith” in filing the bankruptcy case.

  In re Little Creek Dev. Co., 779 F.2d 1068, 1071–73 (5th Cir. 1986); In re Sentry Park, Ltd., 87

  B.R. 427, 430 (Bankr. W.D. Tex. 1988).

           34.     “The good faith standard protects the integrity of the bankruptcy courts and

  prohibits a debtor’s misuse of the process where the overriding motive is to delay creditors

  without any possible benefit, or to achieve a reprehensible purpose through manipulation of the

  bankruptcy laws.” In re Elmwood Dev. Co., 964 F.2d 508, 510 (5th Cir. 1992).

           35.     If the automatic stay applies, cause exists for relief in this case. Choudhri has a

  demonstrated pattern and practice of abusing removal tactics and the bankruptcy courts as delay

  tactics to avoid litigation and delay and defraud his creditors. This Court has previously found

  “the State Court Lawsuit was improperly removed in violation of Federal Rule of

  Bankruptcy Procedure 9027’s deadlines and pleading requirements” and “no bankruptcy

  issues were presented to the Court.” See, e.g. 24-1047 Docket No. 28 (Bankr. W.D. Tex. Oct.

  9, 2024) (emphasis added). The Southern District found that removal was improper again with

  Choudhri’s subsequent removal. Exhibit J, Docket No. 16 in Adv. No. 24-3225. And Choudhri




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  has been sanctioned in this litigation in state court for delay (July 23, 2024 trial court Order

  granting sanctions):




           36.     Choudhri’s dilatory tactics and bad faith are not unique to this case but are a

  pattern and practice of abusing the bankruptcy courts to delay creditors. As recognized by Judge

  Norman, Choudhri is no stranger to delay tactics, and has an abundance of litigation pending

  “scattered throughout the Southern District of Texas.” See generally In re Galleria 2425 Owner,

  LLC, Case No. 23-34815, Mem. Op. at 16-17 and n. 48 [Docket No. 565] (Bankr. S.D. Tex. June

  22, 2024).9

           37.     Choudhri also cannot have it both ways: he cannot both cloak himself in the

  automatic stay on the theory that he and Texas REIT are alter egos for all purposes, while



  9
    Choudhri has used this tactic multiple times before, seeking to remove state court cases to a bankruptcy case
  pending before Judge Norman at least three times. Choudhri caused entities he owns and controls to file improper
  notices of removal at the eleventh hour to delay state court proceedings, only to have each of those cases remanded
  back to state court. See In re Houston Real Estate Properties, LLC, Case No. 22-32998 remanding Adversary No.
  22-3298, No. 23-3196 and No. 23-03190.

            And that is only the beginning of Choudhri’s experience litigating in the United States Bankruptcy Court
  for the Southern District of Texas. See also In re 2500 West Loop, Inc., Case No. 18-20459 (Bankr. S.D. Tex.);
  Abdullatif et al v. Jetall Companies, Inc., et al, Adv. Case No. 18-2180 (Bankr. S.D. Tex.); BDFI LLC et al v.
  Mokaram-Latif West Loop, Ltd. et al, Adv. Case No 19-02019 (Bankr. S.D. Tex.); In re Houston Real Estate
  Properties LLC, Case No. 22-32998 (Bankr. S.D. Tex.); Abdullatif et al v. Choudhri et al, Adv. Case No. 22-03298
  (Bankr. S.D. Tex.); Quinlan et al v. Jetall Companies, et al, Adv. Case No. 23-03141 (Bankr. S.D. Tex.); Abdullatif
  et al v. Choudhri, Adv. Case No. 23-03190 (Bankr. S.D. Tex.); Abdullatif et al v. Choudhri, Adv. Case No. 23-03191
  (Bankr. S.D. Tex.); Abdullatif v. Choudhri, Adv. Case No. 23-03193 (Bankr. S.D. Tex.); Abdullatif et al v.
  Choudhri, Adv. Case No. 23-03194 (Bankr. S.D. Tex.); Mokaram Latif West Loop Ltd. v. Choudhri, Adv. Case No.
  23-03196 (Bankr. S.D. Tex.); In re Galleria 2425 Owner LLC, Case No. 23-60036 (Bankr. S.D. Tex.); Galleria
  2425 Owner, LLC et al v. National Bank of Kuwait, S.A.K.P., New York Branch, Adv. Case No. 23-06009 (Bankr.
  S.D. Tex.); In re Galleria 2425 Owner, LLC, Case No. 23-34815 (Bankr. S.D. Tex.); Choudhri v. National Bank of
  Kuwait, S.A.K.P., New York Branch, Adv. Case No. 24- 03120 (Bankr. S.D.Tex.); In re Galleria West Loop
  Investments, LLC, Case No. 24-32143 (Bankr. S.D. Tex.); In re Briar Building Houston LLC, Case No. 18-32218
  (Bankr. S.D. Tex.).


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  contesting that he is an alter ego for any purpose and disregarding the relief requested in the

  George Lee Adversary—which does not (as addressed above) extend alter ego collections to

  Choudhri for all purposes. Choudhri’s argument contains logical and legal inconsistencies that

  cannot be supported.

           38.     And finally, the Judgment Creditors have made clear that they are not pursuing

  any of the assets of Texas REIT as part of their collection efforts so there will be no harm to

  Texas REIT’s creditors if they are permitted to pursue Choudhri and enforce the judgments in

  the State Court Actions.

           39.     The bankruptcy system is meant to provide a means of equitable distributions to

  creditors while allowing the debtor a breathing spell to restructure its debts and negotiate with

  creditors. It is not the purpose of the bankruptcy system to halt all collection efforts against the

  debtor’s owners, principals, or affiliates who are not themselves in bankruptcy with the intention

  of frustrating existing state court judgments. Accordingly, for the reasons stated above, to the

  extent that automatic stay applies, cause exists to lift the stay.

           40.     Additionally, the Court should waive the fourteen-day stay under Rule 4001(a)(3).

  Choudhri’s actions have delayed the ability to continue hearings in the State Court Actions

  multiple times over the course of several months. The Court should waive the fourteen-day stay

  period to permit the State Court Action to proceed immediately.

           WHEREFORE, the Judgment Creditors respectfully request that the Court enter an order,

  substantially in the form attached hereto: (a) granting this Motion; (b)(i) finding that the

  automatic stay does not apply to the State Court Actions against Choudhri, or, alternatively

  (ii) modifying the automatic stay to permit the State Court Actions to proceed against Choudhri;

  and (c) granting such other and further relief as is just and proper.



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             Respectfully submitted this 11th day of December, 2024.

  HOOVER SLOVACEK, LLP                             GRAY REED

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  COUNSEL TO OSAMA ABDULLATIF

                                        Certificate of Service

          I certify that on December 11, 2024, I caused a copy of the foregoing document to be
  served by electronic transmission to all registered ECF users appearing in this case and by email
  to those referenced below along with exhibits.

  Steve Sather                                     Shane P. Tobin Trial Attorney
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  7320 N. MoPac Expy., Suite 400                   Office of the United States Trustee
  Austin, TX 78731                                 903 San Jacinto Blvd, Room 230
                                                   Austin, TX 78701


                                                    /s/ London England
                                                    London England


                                      Certificate of Conference

          The undersigned certifies that at the December 2, 2024 hearing before Judge Isgur,
  Choudhri (proceeding pro se) opposed the State Court Actions continuing because he believed
  the automatic stay applies.
                                                 /s/ London England
                                                 London England



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